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     Attorneys for Defendant James B. Panther, Jr.
5

6                       IN THE UNITED STATES DISTRICT COURT
7                            FOR THE DISTRICT OF ARIZONA
8
                                                       Case No. CR-19-00448-PHX-DLR-2
9 United States of America,
                                                       DEFENDANT’S UNOPPOSED
10                                                     MOTION TO CONTINUE
                               Plaintiff,
11                                                     RESTITUTION HEARING
                  v.                                   SCHEDULED FOR DECEMBER
12                                                     19, 2024 AT 3:00 PM FOR A
13 James B. Panther, Jr.;
                                                       PERIOD OF NINETY (90) DAYS

14                             Defendant.
15

16
            Defendant James B. Panther Jr. (“Mr. Panther”), by and through undersigned
17   counsel, respectfully requests that this Court enter an order continuing the restitution
18   hearing currently scheduled for Thursday, December 19, 2024, at 3:00 p.m. before the
19   Honorable Douglas L. Rayes, for a period of ninety (90) days.
20          As this Court is aware, over the last year, the government has been working to
21   recover monies from overseas accounts, which may reduce or negate the amount of
22   restitution that Mr. Panther owes in this matter. On or about November 27, 2024, the
23   government notified undersigned counsel regarding the status of the repatriation of funds
24   from the overseas accounts. Specifically, the government informed that it is still working
25   to release the funds from Cypriot Bank in Cyprus. While progress is being made, there

26   are many moving parts, and the government continues to work on the release of these

27   funds. The government hopes to have this matter resolved within the next ninety (90)

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1    days. The recovery of these funds is important, as these funds would be used in order to

2    satisfy all or part of the restitution owed in this matter.
            Undersigned counsel has been in communication with AUSA Aaron Hendricks;
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     and the government does not have any objection to the continuance of this matter.
4
            Therefore, and for the reasons stated above, Mr. Panther respectfully requests that
5
     the Court continue the restitution hearing currently scheduled for December 19, 2024, at
6
     3:00 p.m. for a period of ninety (90) days.
7
            RESPECTFULLY SUBMITTED this 2nd day of December 2024.
8
                                                      NCP Law, PLLC
9                                                     3200 N. Central Avenue, Suite 2550
10                                                    Phoenix, Arizona 85012

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12
                                                      By:
                                                            Andrea S. Tazioli (#026621)
13                                                          Attorneys for Defendant James B.
                                                            Panther, Jr.
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     Case 2:19-cr-00448-DLR      Document 165      Filed 12/02/24    Page 3 of 3




1                                CERTIFICATE OF SERVICE

2
            I certify that on the 2nd day of December 2024, I electronically transmitted the
3
     foregoing document to the Office of the Clerk of the Court, using the CM/EFC System,
4
     for filing and for transmittal of a Notice of Electronic Filing to the CM/EFC registrants
5
     on record.
6
            I further certify that I sent this document via email to Assistant United States
7    Attorney Aaron Hendricks at the following email address: Aaron.Hendricks@usdoj.gov
8           I further certify that I sent this document via email to US Probation Officer Lisa
9    Cabe at the following email address: Lisa_Cabe@casp.uscourts.gov
10

11   /s/ Andrea S. Tazioli___
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